          USCA Case #22-7129
                               UNITED STATES COURT OF Filed:
                                   Document #1971967
                                                       APPEALS
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                                DISTRICT OF COLUMBIA CIRCUIT
                                              333 Constitution Avenue, NW
                                               Washington, DC 20001-2866
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 Case Caption: Asinor et al.

                                      v.                                  Case No: 22-7129
                    District of Columbia et al.


                                            ENTRY OF APPEARANCE

The Clerk shall enter my appearance as            Retained    Pro Bono        Appointed (CJA/FPD)          Gov't counsel
for the     Appellant(s)/Petitioner(s)      Appellee(s)/Respondent(s)         Intervenor(s)     Amicus Curiae below:

                                                   Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)

 Oyoma Asinor

 Bryan Dozier




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Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
